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 4
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   RAMIRO MENDES
 6
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
                                                 Case No.: CR22-370-PA
11 UNITED STATES OF AMERICA,
12                Plaintiff,                     DEFENDANT’S RAMIRO MENDES
13         vs.                                   SENTENCING POSITION
14                                               Sentencing Date and Time:
     RAMIRO MENDES,                              December 12, 2022
15                                               8:30 A.M.
16                Defendant.

17
18
           Defendant RAMIRO MENDES, by and through his counsel of record, Jeffery
19
     K. Rubenstein, hereby submits his position regarding sentencing. Based on all the
20
     information available to the Court, additional mitigating factors presented herein,
21
     and the existences of good grounds and cause, Mr. Mendes respectfully asks this
22
     Court to impose a lenient sentence below the recommended guidelines.
23
24 Dated: November 21, 2022            LAW OFFICES OF JEFFERY K. RUBENSTEIN

25                                               By: ______/s/____________
                                                  Jeffery K. Rubenstein
26                                                Attorney for Defendant
27                                                RAMIRO MENDES
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                               DEFENDANT’S SENTENCING POSITION
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 1                                           I.
                                       INTRODUCTION
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           On September 22, 2022, Defendant Ramiro Mendes pled guilty to a single
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     count of Conspiracy to Commit Bank Fraud in violation of 18 U.S.C. §1343. The
 5
     facts and circumstances surrounding this matter stem from Mr. Mendes defrauding
 6
     SBA and SBA-approved lenders to obtain money such lenders from April 2020 to
 7
     August 2020.
 8
           Mr. Mendes has expressed, and continues to feel, great remorse and contrition
 9
     for his serious conduct. He has accepted full responsibility for violating the law and
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     entered a guilty plea in front of this honorable Court in the incredibly early stages of
11
     criminal proceedings.
12
            Following the lineage of Supreme Court rulings that began with United
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     States v. Booker, 125 S. Ct. 738 (2005), advisory guidelines are now one of several
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     factors to be considered by the Court at sentencing. There is no presumption at the
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     district court level that a guideline sentence is inherently reasonable. Rather, in
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     arriving at an appropriate sentence, the Court is directed to consider all the
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     sentencing factors set forth in 18 U.S.C. §3553(a).
18
           In the matter before the Court, the nature and circumstances of the offense,
19 the defendant’s background, history, and character, as well his genuine remorse and
20 contrition, Mr. Mendes seems unlikely to reoffend. These are all factors which show
21 that a sentence below the guidelines is warranted. Therefore, a downward departure
22 allowing for a reasonable sentence in accordance with the probation report
23 recommendation of 63 months and a further downward departure and supervised
24 release for three years with the terms and conditions of probation would be
25 “sufficient but not greater than necessary” to fulfill the sentencing factors set forth
26 in 18 U.S.C. §3553(a).
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1                                        II.
                           MR. MENDES HAS SHOWN REMORSE
2
                      AND CONTRITION FOR HIS CRIMINAL CONDUCT
3
               Mr. Mendes deeply regrets his criminal conduct that brings him before this
4
     Court. As Mr. Mendes writes in his letter to the Court:
5
               Throughout my life, I have been a law-abiding citizen with a clean
6
               criminal record. I can assure your Honor, the Court, and the United
7              States of America that I will never commit such an offense again.
               Instead, I am taking this experience as a learning lesson, a time for
8
               reflection with the hope of coming out of it as soon as possible as a
9              better human being. (Please see Exhibit A.)
10
                                           III.
11
                         THE §3553(A) FACTORS MITIGATE TOWARD
12                      THE REQUESTED NON-GUIDELINE SENTENCE
13
     This Court has Broad Discretion to Impose a Non-Guidelines Sentence
14
               Following United States v. Booker, 125 S. Ct. 738 (2005), Gall v. United
15
     States, 552 U.S. 38, (2007), and Kimbrough v. United States, 128 S. Ct. 558, 570
16
     (2007), this Court has broad discretion, after considering the totality of factors
17
     present in the case, to impose a non-guideline sentence. The Court’s sole statutory
18
     mandate is to “impose a sentence sufficient, but not greater than necessary to
19
     accomplish the goals of sentencing” under §3553(a)(2). 1
20
               Through the letters written on behalf of Mr. Mendes in support of his
21
     character, remorse, and cooperation with the government, (attached herein as
22
     Exhibit B), it is well militated that Mr. Mendes is not a typical criminal who is at a
23
     high risk to reoffend. The letters written in support of Mr. Mendes testify to his true
24
     character and show a strong likelihood and ability to rehabilitate from his
25
26
27   1
          The sentencing factors under §3553(a)(2) include providing just punishment, adequate
28       deterrence, incapacitation, and rehabilitation.

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                                  DEFENDANT’S SENTENCING POSITION
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1 unfortunate choices. In his support of Mr. Mendes’s character, Joao Mendes, his
2 brother writes:
3                My brother is a recording artist, music producer, and
                 composer. He is known for his works in music and other
4
                 cultural contributions that extend internationally. He has
5                never seen the inside of a prison, never served time, or ever
                 been arrested. He’s not violent, neither in action nor
6
                 verbally or in any other ways. He does not suffer from any
7                mental illnesses. He does not use profanity of any type.
                 He has never drunk alcohol ever since I can remember
8
                 growing up and until today. He doesn’t smoke cigarettes
9                and does not do any drugs of any kind. This is the only
                 transgression my brother has ever made.
10
11
           In another letter written by a friend and colleague of Mr. Mendes, Mr.
12
     Reid, writes the following in support of Mr. Mendes’s character:
13
                 It is with much respect; I declare that throughout the years
14               I’ve known him, he has consistently exhibited exceptional
                 strength of character and dependability. As I’ve witnessed
15
                 his work ethic, I have been constantly impressed with his
16               integrity and fairness.
17
           Through his counsel, Mr. Mendes also wishes to highlight his life
18
     history. As outlined in the Pre-Sentence Investigation Report, Mr. Mendes has
19
     encountered extraordinary hardships in his life which he has overcome.
20
     Further, he attended and graduated the Berkley College of Music where he
21
     received his bachelor’s degree in May 1993. In addition, Counsel has had
22
     nothing but positive interactions with Mr. Mendes, where he expressed great
23
     shame and remorse for his conduct in the matter before the Court.
24
           The Court should also note that at an early stage in the proceedings,
25
     Mr. Mendes met with federal agents and fully cooperated with the
26
     Government’s investigation. When a search warrant was served upon Mr.
27
     Mendes on February 24, 2021, he decided, along with his Counsel, to fully
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 1 cooperate and thereafter a proffer was set up at Counsel’s home office during
 2 the Coronavirus Pandemic. Mr. Mendes had been, and continues to be,
 3 forthcoming with the Government. He agreed to surrender all assets received,
 4 which Mr. Mendes had converted into Bitcoin (realizing a substantial profit).
 5 In addition, Mr. Mendes disclosed to the Government additional resources he
 6 received in the form of gold which he volunteered to surrender to federal
 7 agents.
 8         In July 2021, Mr. Mendes voluntarily signed paperwork transferring
 9 crypto assets to permit the government to convert the assets into US currency
10 and to forfeit such assets. He continues to cooperate with the government in
11 repatriation of foreign crypto accounts and has met with agents as recently as
12 November 15, 2022, to provide requested information, access, and support to
13 the government. We expect that all assets Mr. Mendes received will be repaid
14 in full through a separate process, and at that time, we will request that such
15 assets be applied towards any restitution owed.
16
17                                 VI.
             FURTHER ANALYSIS OF §3553(A) SENTENCING FACTORS
18
19 The Need for Just Punishment
20      There is no doubt that Mr. Mendes has committed a crime that requires some
21 form of punishment. Mr. Mendes has been cooperative with Counsel and the
22 government in a timely and responsible manner throughout the almost two-year
23 process, up to and including his plea and acceptance of responsibility in a humble
24 and forthright tone.
25 The Need for Adequate Deterrence
26      Given Mr. Mendes’s remorse combined with his good faith effort to mitigate
27 the loss through repaying the loss immediately, shows that Mr. Mendes is unlikely
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                           DEFENDANT’S SENTENCING POSITION
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 1 to reoffend. The requested sentence would adequately deter Mr. Mendes from any
 2 future unlawful activity. He has already been deterred by virtue of his own shame,
 3 increased awareness of the profound consequences of breaking the law.
 4 The Need to Protect Society from Further Crimes on the Part of the Defendant
 5        Considering Mr. Mendes’s contrition, his attempts to make the victims whole,
 6 his family and community ties, and the fact that he is unlikely to reoffend if he
 7 remains on the path he is on now, the requested sentence will provide sufficient
 8 deterrence to protect society from further criminal activity by Mr. Mendes.
 9 The Kinds of Sentences Available
10        Mr. Mendes’s criminal conduct is serious but related to his addiction. Based
11 on the lineage of cases beginning with Booker, this Court may sentence the
12 defendant outside of the applicable advisory guidelines considering §3553(a)
13 factors. The sentence must be “reasonable” based on the District Court judge’s
14 application of these factors.
15
16                                       VII.
                                      CONCLUSION
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18         While the Defense accepts and agrees with all the factors in the probation
19 report recommendation, the Defense respectfully requests that this Court not only
20 adopt the probation departments recommendation, but further exercise its wide
21 discretion for an additional downward departure and impose a sentence of no more
22 than 24 months in custody along with supervised release for three years and any
23 other terms and conditions that the Court deems appropriate. Such a sentence would
24 be “sufficient but not greater than necessary” to fulfill the sentencing factors set
25 forth in §3553(a), while allowing Mr. Mendes to continue his positive efforts to
26 rebuild his life.
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                           DEFENDANT’S SENTENCING POSITION
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1         The above is respectfully submitted by Ramiro Mendes through his counsel
2 based on all the above and all other documentation submitted by all parties and all
3 other sentencing memorandum and reports.
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5
6
     Dated: November 21, 2022        LAW OFFICES OF JEFFERY K. RUBENSTEIN
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9
                                         By: _______/s/_______
10                                       Jeffery K. Rubenstein
                                         Attorney for Defendant
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                                         RAMIRO MENDES
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